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                       UNITED STATES DISTRICT COURT
                                          for the
                                Western District of Kentucky
                                 Bowling Green Division

Timothy L. Gaddie                           )
      Plaintiff                             )
                                            )
v.                                          )       Case No.      1:17-cv-00034-GNS
                                            )
Harvest Credit Management VII, LLC          )
      Defendant                             )
                                            )

                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Timothy L.

Gaddie and Defendant Harvest Credit Management VII, LLC hereby jointly request that this

Court dismiss with prejudice Plaintiff’s claims against Defendant in the above-styled action.

Except as otherwise agreed, the parties shall each bear their own costs, expenses, and

attorney’s fees.

HAVE SEEN AND APPROVED:

/s/ James H. Lawson (w/permission)          /s/ Bryan H. Hayes______
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